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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                 Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                     HON. AMIT P. MEHTA
 GOOGLE LLC,

                                 Defendant.


 COLORADO, et al.,

                                 Plaintiffs,            Case No. 1:20-cv-03715-APM

 v.                                                     HON. AMIT P. MEHTA
 GOOGLE LLC,

 Defendant.



                              PLAINTIFF STATES’ NOTICE OF EXHIBITS
                                ADMITTED INTO EVIDENCE IN BULK

         Plaintiff States submit this notice to provide lists of exhibits admitted into evidence in bulk. The

attached lists include:

      1. Exhibit A: Documents included on Plaintiff States’ final trial exhibit list with no objections. This

         group was admitted, and a copy was provided to the Court on September 15, 2023.

      2. Exhibit B: Documents offered as trial exhibits for admission into evidence, where Google has

         withdrawn previous objections, subject to Google’s ongoing objection to any embedded hearsay

         contained therein. This group was admitted, and a copy was provided to the Court on October 25,

         2023.
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3. Exhibit C: Documents offered as trial exhibits for admission into evidence, where Google has

   withdrawn previous objections, subject to Google’s ongoing objection to any embedded hearsay

   contained herein. This group was admitted, and a copy was provided to the Court on November 6,

   2023.

4. Exhibit D: Documents offered as trial exhibits for admission into evidence, where Google has

   withdrawn previous objections, subject to Google’s ongoing objection to any embedded hearsay

   contained herein. This group was admitted, and a copy was provided to the Court on November 9,

   2023.
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Dated: November 16, 2023              Respectfully submitted,

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